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                                                                                                                                            3
                                                                           1
                                                                                      1                      E X H I B I T S
         1                        UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA                        2
         2                        IN ADMIRALTY
                                                                                      3   Plaintiff's Exhibit No. 24                   35
         3                        CASE NO:   19-CV-20264 CIV-GOODMAN

         4                                                                            4   Plaintiff's Exhibit No. 27                   37
                 ERIC EWING,
         5                                                                            5   Plaintiff's Exhibit No. 28                   38
                         Plaintiff,
         6                                                                            6   Plaintiff's Exhibit No. 33                   39
                 vs.
         7                                                                            7   Plaintiff's Exhibit No. 34                   39
                 CARNIVAL CORPORATION,
         8                                                                            8   Plaintiff's Exhibit No. 35                   43
                         Defendant.
         9       _______________________________/
                                                                                      9   Plaintiff's Exhibit No. 36                   44
        10
                                                                                     10   Plaintiff's Exhibit No. 37                   45
        11
                                                                                     11   Plaintiff's Exhibit No. 38                   46
        12
                                                                                     12
        13
                                      Brais Law Firm                                 13
        14                            9300 S. Dadeland Blvd.
                                      Suite 101
        15                            Miami, Florida
                                                                                     14
                                      9-22-19 12:51 p.m.
        16                                                                           15
        17                                                                           16
        18                                                                           17
        19                     VIDEO CONFERENCE DEPOSITION OF                        18
        20                      GIRISH DIVADIGA                                      19
        21
                                                                                     20
        22               Taken before Julio A. Mocega, Shorthand
                                                                                     21
        23       Reporter, Notary Public in and for the State of
                                                                                     22
        24       Florida at Large, pursuant to Notice of Taking
                                                                                     23
        25       Deposition filed in the above case.
                                                                                     24

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                                                                                               MOCEGA & ASSOC. (305) 374-0181
                                                                       2
                                                                                                                                            4
  1   APPEARANCES:
  2                                                                                   1   Thereupon,

  3   ON BEHALF OF THE PLAINTIFF:                                                     2                  GIRISH DIVADIGA,
      BRAIS LAW FIRM
                                                                                      3   was called as a witness and, having been first
  4   9300 S. Dadeland Blvd.
      Suite 101                                                                       4   duly sworn, was examined and testified as
  5   Miami, Florida 33156
      BY: Keith S. Brais, Esquire                                                     5   follows:
  6
                                                                                      6                MR. SCARRY:     And if I could, just
  7                                                                                   7           for the record, let me just note an
      ON BEHALF OF THE DEFENDANT:
  8   HORR, NOVAK & SKIPP, P.A.                                                       8           objection to the video aspect of it as
      Two Datran Center, Suite 1700
                                                                                      9           far as it being recorded.
  9   9130 S. Dadeland Center
      Miami, Florida 33156                                                           10                 DIRECT EXAMINATION
 10   BY: Brian T. Scarry, Esq.
                                                                                     11   BY MR. BRAIS:
 11
                                                                                     12           Q.   Good morning, sir.
 12                                                                                  13           A.   Good morning, sir.

 13                                                                                  14           Q.   My name is Keith Brais, and I'm
                           - - - - - -
                                                                                     15   the attorney who represents Eric Ewing in this
 14
                                I N D E X                                            16   case.
 15
                           - - - - - -                                               17           A.   All right.
 16
                                                                                     18           Q.   We're here to take your
      GIRISH DIVADIGA                                             PAGE
 17                                                                                  19   deposition.
      By Mr. Brais                                            4
 18                                                                                  20           A.   All right.
                                                                                     21           Q.   And firstly, sir, I guess, could
 19
                                                                                     22   you please state your full name.
 20
 21                                                                                  23           A.   My name is Girish Divadiga.
 22
                                                                                     24           Q.   And if I could just speed a couple
 23
 24                                                                                  25   of things along.
 25
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                                                   5                                                        7
 1               Back on the date --                     1            Q. Also here on this end is a Court
 2           A. Sure.                                    2    Reporter. He's off to one side. He may or --
 3           Q. -- of the incident that we're here       3    you may or may not see him on the screen. He's
 4   to talk about involving Mr. Ewing, you were         4    taking down everything that is spoken. So rule
 5   serving as a security officer on board a            5    number one is --
 6   Carnival cruise ship.                               6            A. Okay.
 7           A. Yes, sir.                                7            Q. -- a nod with your head up and
 8           Q. Okay. And which cruise ship was          8    down cannot be taken down by the Court
 9   that?                                               9    Reporter. It has to be verbalized. So all of
10           A. As far as I remember, it was            10    your responses need to be out loud. It's a
11   Carnival Cruise Lines ECSTASY.                     11    yes, a no, a maybe, or I don't know, or what
12           Q. Let me look that up for you             12    whatever the answer may be. But simply nodding
13   because we don't want to -- no one is trying to    13    will not be something that he can take down,
14   trick you with that.                               14    okay?
15               Yeah, it indicates to me it was        15            A. All right, sir.
16   the ECSTASY. So that was a good memory on your     16            Q. Second rule is, let's only have
17   part.                                              17    one person talking at a time. So I'm going to
18               MR. SCARRY: It is.                     18    ask you to wait until I'm done with the
19   BY MR. BRAIS:                                      19    question, just pause for just a half a second
20           Q. Okay. You are -- today's date is        20    because of the connection, and then if you
21   September 22nd, 2019. And you are -- where are     21    would go ahead and answer, okay?
22   you physically seated, sir?                        22            A. Okay, sir.
23           A. I'm in San Juan. It's called            23            Q. Third rule is, you may hear
24   Telegrapho, the office.                            24    occasionally Mr. Scarry make something like
25           Q. So you're in a court reporter's         25    objection as to form, objection, something like
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                                                   6                                                        8
 1   office in San Juan?                                 1    that.
 2           A. Right.                                   2                That is not intended to disrupt
 3           Q. Okay. What ship are you serving          3    the deposition. It's simply something he's
 4   aboard now?                                         4    preserving on the record for him to discuss
 5           A. FASCINATION.                             5    with the judge later on. So focus, if you
 6           Q. Are you still serving -- that's a        6    would, on what the question was. And if you
 7   Carnival ship, correct?                             7    understood the question, go ahead and answer,
 8           A. Yes, sir.                                8    okay?
 9           Q. Are you still serving in the             9            A. Yes, sir.
10   status as a security officer?                      10            Q. All right. I'm sure that before
11           A. No. I'm working right now as an         11    we get started, we mentioned a little bit about
12   assistant chief security.                          12    the fact we're only interested in what you
13           Q. That's a promotion?                     13    know. We're not interested in having you guess
14           A. Yes, sir.                               14    at anything. If you have an educated
15           Q. Okay. So let me go through some         15    approximation, that would be a little bit
16   of the rules that help a deposition go forward,    16    different.
17   particularly a video deposition like this.         17                And obviously some time has lapsed
18               First of all, in this room             18    and if there's things you just simply don't
19   Mr. Scarry is here. I think you know he's          19    have a recollection of, would you -- indicate
20   counsel for Carnival. I'll let him say hello.      20    that, okay?
21               MR. SCARRY: Good morning, Girish.      21            A. Yes, sir.
22               THE WITNESS: Good morning, Brian.      22            Q. Was Carnival Cruise Line the first
23               MR. SCARRY: Nice to see you for        23    cruise line you began working for?
24           the first time.                            24            A. Yes, sir.
25   BY MR. BRAIS:                                      25            Q. What year did that start?
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                                                   9                                                      11
 1            A. Can you come again with the              1          Q. Okay. In that airport that you
 2    question?                                           2   mentioned a moment ago, were there what you
 3            Q. What year did you begin working          3   might refer to as security personnel?
 4    for Carnival Cruise Line?                           4          A. For me or in the airport?
 5            A. It was in 2011.                          5          Q. No, in the airport different --
 6            Q. Were you hired on as a security          6          A. Okay.
 7    officer?                                            7          Q. -- from you, were there people who
 8            A. Yes, sir.                                8   worked security in the airport?
 9            Q. Before we go through your history        9          A. Yes, sir, the airport has its own
10    aboard the Carnival cruise ships, where were       10   securities.
11    you born?                                          11          Q. Got it.
12            A. India, Mumbai.                          12               And that was not the position you
13            Q. And how is it you got your job          13   occupied; am I correct?
14    with Carnival Cruise Lines as a security           14          A. Yes, sir. Those are the company
15    officer?                                           15   airport guys.
16            A. Through one of the agencies             16          Q. Okay. Was there -- is there a
17    because I was working in airlines.                 17   name of the company that you worked for as a
18            Q. When you say you were working in        18   passenger service agent and a passenger
19    the airlines, are you talking about a major        19   security supervisor?
20    airline, airport or something like that?           20          A. It was Cambatta Aviation Industry.
21            A. Mumbai airport.                         21          Q. Can you spell that?
22            Q. In what capacity were you working       22          A. It's Cambatta, C-A-M-B-A-T-T-A.
23    at that airport?                                   23          Q. And as far as security is
24            A. I was working as a passenger            24   concerned, I think you said you would do
25    handling service agent and then later on being     25   background checks; is that right?
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                                                   10                                                     12
 1    promoted.                                           1          A. Yes, sir.
 2            Q. I didn't get the last part. Later        2          Q. On what, passengers who were to
 3    on what?                                            3   travel on an airline?
 4            A. I was promoted as a passenger            4          A. Yes, sir.
 5    service supervisor.                                 5          Q. Was there any other aspect of that
 6            Q. So initially as a passenger              6   job that involved security?
 7    service agent and then later as a passenger         7          A. Yes, sir, doing pat downs of our
 8    service supervisor, right?                          8   guests, boarding guests.
 9            A. Yes, sir.                                9          Q. All right. Before working for
10            Q. Okay. Did you work security at          10   Cambatta, did you have any security or law
11    that airport?                                      11   enforcement experience?
12            A. Yes, sir.                               12          A. I was working as a security
13            Q. Which of the two positions you          13   officer before that.
14    mentioned involved security?                       14          Q. Working as a security officer
15            A. We used to do a background check        15   what?
16    of the profiling of the guest and doing            16          A. As a security guard for the other
17    security checks at the boarding gate as well.      17   company.
18            Q. But you weren't -- were you             18          Q. Oh, the company that actually had
19    necessarily an armed security personnel? I         19   the security service at the airport?
20    mean by that, uniformed with some sort of          20          A. Yes, sir.
21    labeling as security, or perhaps even              21          Q. Okay. And how long did you do
22    something, you know, a weapon or anything like     22   that for?
23    that?                                              23          A. I worked over there for six
24            A. No, we not allowed to carry             24   months. It was a security guard job.
25    weapons in the airport.                            25          Q. And how long -- after the first
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                                                  13                                                              15
 1   six months as a security guard, how long did             1    itself since 2011?
 2   you work for Cambatta?                                   2             A. Yes, sir.
 3          A. Cambatta was one and a half years.             3             Q. Okay. Since 2011, sir, could you
 4   But before Cambatta I was recruited by Cathay            4    name the ships that you've worked on board?
 5   Pacific Airlines.                                        5    And if you could do it in order, that would be
 6          Q. And what did you do for them?                  6    wonderful. If you don't know the order, that's
 7          A. I was same, doing as the same                  7    fine.
 8   Cambatta job over there.                                 8             A. I cannot recollect, but my first
 9          Q. Okay. And how long did you work                9    ship was LIBERTY.
10   for them?                                               10             Q. Okay. And do you know maybe what
11          A. For almost two years.                         11    was the second ship? Or what's the next one
12          Q. And then after the year and a half            12    you remember?
13   with Cambatta, is that when you ended up                13             A. Well, my last ship was LIBERTY
14   getting hired with Carnival through an                  14    again.
15   employment agency?                                      15             Q. And when you say "the last
16          A. Yes, sir.                                     16    ship" --
17          Q. Okay. Are you married, sir?                   17             A. Uh-huh.
18          A. Yes, sir.                                     18             Q. -- you're talking about the last
19          Q. And are you blessed enough to have            19    ship before the ship you're presently on?
20   children, I hope?                                       20             A. Yes, sir.
21          A. Not yet, sir.                                 21             Q. Okay. Because you're currently on
22          Q. How long have you been married?               22    which one again?
23          A. Almost four years now.                        23             A. FASCINATION. Carnival
24          Q. And when you're not working on                24    FASCINATION.
25   board the ship, do you return to India?                 25             Q. So let me ask you this. How many
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                                                   14                                                              16
 1           A. Yes, sir.                                     1    contracts have you served on board the
 2           Q. Since 2011 there's been -- you've             2    FASCINATION since working with Carnival in
 3   worked contracts for Carnival Cruise Line,               3    2011?
 4   correct?                                                 4           A. With FASCINATION or talking about
 5           A. Yes, sir.                                     5    the whole contract? Like how many contracts --
 6           Q. And those contracts, there's a                6           Q. How many contracts have you served
 7   certain number of months you're on board the             7    aboard the FASCINATION?
 8   ship and then a certain number of months you're          8           A. FASCINATION, this is the first
 9   off the ship. And then you return, sign on and           9    time I'm coming now.
10   then sign off and that process repeats,                 10           Q. Since 2011 have you ever worked on
11   correct?                                                11    board the ECSTASY?
12           A. Yes, sir.                                    12           A. Yes, I have worked on ECSTASY.
13           Q. Typically -- I'm not asking for              13           Q. How many contracts?
14   every contract. Typically how long are you              14           A. If I'm not mistaken, two
15   aboard the vessel working?                              15    contracts.
16           A. On this ship or total?                       16           Q. Since 2011 have you worked on the
17           Q. Typically, since 2011, how many              17    SENSATION?
18   months do you stay on board any given vessel            18           A. No, sir.
19   working?                                                19           Q. Since 2011 have you worked on
20           A. Six months.                                  20    board -- well, you mentioned the FASCINATION
21           Q. And then after working six months,           21    just now, and that's -- that's your current
22   is there a period when you're, you know, signed         22    vessel, and it's the first time on board there,
23   off or on vacation?                                     23    correct?
24           A. Two months' vacation.                        24           A. Yes, sir.
25           Q. And that process has repeated                25           Q. Since 2011 have you worked on
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                                                    17                                                          19
 1    board the IMAGINATION?                                 1    upper bunk in his stateroom came down and hit
 2           A. IMAGINATION? No, sir.                        2    him on the head?
 3           Q. Same question, since 2011 have you           3            A. No, sir, because we normally have
 4    worked on board the INSPIRATION?                       4    a lot of investigations going on. So we
 5           A. No, sir.                                     5    normally go and check with them. Like, all
 6           Q. The ELATION, same question?                  6    kind of -- I don't exactly remember, but we
 7           A. ELATION? Yes.                                7    have a lot of things like this normally. The
 8           Q. How many contracts?                          8    accidents, investigations.
 9           A. ELATION should be one contract.              9            Q. So when you say "a lot of things,"
10           Q. And the PARADISE, same question,            10    you mean if something occurs aboard the ship,
11    since 2011?                                           11    the security officers are called upon to
12           A. One contract.                               12    investigate, you know, what happened, what
13           Q. So with regard to the Fantasy               13    injuries existed, stuff like that?
14    Class vessel since 2011, you're currently             14            A. Yes, sir.
15    working on the FASCINATION.                           15            Q. Okay. So do you ever remember
16                You've had perhaps two contracts          16    anything -- I just want to be clear --
17    on the ECSTASY, one contract on the ELATION and       17    involving a claim in or about January 25, 2018,
18    one contract on the PARADISE; am I -- do I have       18    on board the ECSTASY where a passenger claimed
19    that correct?                                         19    an upper bunk in his stateroom suddenly came
20           A. Yes, sir.                                   20    down and hit him on the head? Do you have any
21           Q. Okay. And on board all of those             21    recollection whatsoever of that incident?
22    vessels, those Fantasy Class vessels, there's a       22            A. Sorry, but I cannot remember that
23    type of a bunk, upper bunk in staterooms that         23    one.
24    have upper bunks that essentially folds out of        24            Q. Okay. So would it be fair to say
25    the wall; am I correct?                               25    that if there was an inspection the day of or
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                                                     18                                                         20
 1             A. Yes, sir.                                  1    even the day following this incident that we're
 2             Q. This incident occurred on -- that          2    here to talk about, and that took place in
 3    we're here to talk about, on January 25, 2018.         3    Mr. Ewing's stateroom, would it be fair to say
 4                And if I understand correctly, you         4    you have no memory of that?
 5    were serving aboard the --                             5            A. Because see, what happens is, you
 6                MR. SCARRY: ECSTASY.                       6    know, I do not exactly remember it. Normally
 7    BY MR. BRAIS:                                          7    when you have any accidents or something like
 8             Q. ECSTASY as a security officer,             8    this, first call goes to the assistant chief.
 9    correct?                                               9                 If he or she is busy, so then they
10             A. Yes, sir.                                 10    assign us normally to, okay, go ahead and
11             Q. Do you have a memory of the event         11    investigate.
12    involving Mr. Ewing's -- the incident that he         12                 So we normally do a lot of
13    reported?                                             13    investigations, so I cannot exactly recollect
14             A. No, sir.                                  14    what was it exactly.
15             Q. Do you know -- do you have any            15            Q. Okay. And I'm not trying to
16    recollection of who Mr. Ewing is in the world?        16    quibble with you, sir, but you say you cannot
17             A. Not, no, sir, exactly.                    17    exactly remember.
18             Q. So let's set aside his name.              18            A. Yes.
19    Let's talk about the event, if you will.              19            Q. That's why I keep coming back and
20    Because I understand remembering someone's name       20    saying do you have any memory, whether it's
21    from a couple -- several years back might be          21    exactly as to every detail or not as to every
22    difficult.                                            22    detail. I'm only circling back and asking you
23                Do you ever recall while working          23    if you have any memory, because you say you
24    on board the ECSTASY being called upon to             24    don't have an exact memory. It might just be
25    investigate a claim by a passenger that an            25    the way we're communicating, I'm not trying to
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 1   be difficult, but I'm just asking you if you          1          Q.     Sure.
 2   have any memory of the subject incident we're         2                 Well, let's be more specific.
 3   talking about where in and about January 25,          3    Would you agree with me that at least one of
 4   2018, on board the ECSTASY, a passenger claimed       4    the purposes for ship security on board the
 5   an upper bunk in his stateroom came down and          5    ECSTASY at the times leading up to this
 6   hit him in the head. Do you have any memory of        6    incident to conduct a shipboard inspection
 7   that?                                                 7    would be to verify for one what exactly
 8           A. No, sir, I cannot recollect it.            8    happened?
 9           Q. Okay, fair enough.                         9            A. Yes, that is -- that is what we
10                So if you were in that cabin, the       10    do, yes.
11   subject cabin, the following day, I take it you      11            Q. Okay. Would you also agree with
12   have no memory of that as well, correct?             12    me that another reason for conducting a
13   Correct?                                             13    post-incident shipboard inspection would be to
14           A. Yes, sir.                                 14    identify if there existed an unsafe dangerous
15           Q. Okay.                                     15    or defective condition or procedure that may
16                MR. BRAIS: Shucks. So then --           16    have brought about an injury? Would that be a
17           and we didn't have this sent to him. I       17    fair statement?
18           can show it to him.                          18            A. Yes.
19                MR. SCARRY: You can show it to          19            Q. Okay. And would you also agree
20           him.                                         20    with me that another reason for conducting a
21                MR. BRAIS: That thing zooms right       21    shipboard inspection -- now we're on the third
22           in on it.                                    22    reason -- would be in the event an unsafe
23                MR. SCARRY: That's fine. That's         23    condition or procedure was identified, it would
24           fine.                                        24    allow the cruise line to make a remedial
25                MR. BRAIS: Why don't we wait till       25    measure or, after-the-fact, if you will,
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                                                    22                                                        24
 1           the end, otherwise, we'll screw up all        1    correct the condition that may have led to the
 2           of the numbering.                             2    injury? Is that a fair statement?
 3                MR. SCARRY: I think that's a good        3                 MR. SCARRY: Objection to the
 4           idea.                                         4            form.
 5   BY MR. BRAIS:                                         5                 THE WITNESS: Yes, sir.
 6           Q. Okay. So let's just talk about             6    BY MR. BRAIS:
 7   the policies and procedures on board the ship         7            Q. I'm sorry, sir, your answer?
 8   for security officers following a reported            8            A. Can you come again with that
 9   incident or injury. Can we talk about that for        9    question? Because --
10   a moment?                                            10            Q. Sure.
11           A. Yes, sir.                                 11                 After -- in the event an unsafe
12           Q. Okay. There are procedures on             12    condition or procedure is identified, would you
13   board or that were in place on board the             13    also agree that the third prong of a shipboard
14   ECSTASY leading up to the date of this incident      14    inspection or investigation would be to allow
15   involving the duties and responsibilities of         15    the cruise line an opportunity to potentially
16   someone like yourself to undertake what              16    remedy or correct or fix what may have been
17   sometimes is referred to as a shipboard              17    identified as an unsafe condition? Is that
18   investigation or accident investigation,             18    fair?
19   correct?                                             19                 MR. SCARRY: Objection as to form.
20           A. Yes, sir.                                 20                 THE WITNESS: If I'm mistaken,
21           Q. Okay. And would you agree with me         21            you're telling me if there's something
22   that there are multiple purposes behind              22            which is not correct has to be
23   conducting that investigation? Is that a fair        23            rectified or something like that? Can
24   statement?                                           24            you come again? Because it's getting
25           A. Can you come again with that, sir?        25            convoluted, the question.
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 1    BY MR. BRAIS:                                         1           A. On board it's called a work order.
 2            Q. Okay. So we've identified the              2           Q. Okay. Another part, if I'm
 3    first prong being to learn what happened,             3    correct, for shipboard investigation is to
 4    correct?                                              4    identify any and all witnesses; am I correct?
 5            A. Okay.                                      5           A. Any all?
 6            Q. The second prong was to identify           6           Q. Any and all witnesses.
 7    if there was an unsafe, dangerous or defective        7           A. Yes. Whoever is involved, yes.
 8    condition or procedure, correct?                      8           Q. So I just want to stop for a
 9            A. Okay.                                      9    minute because I see you straining. Are you
10            Q. The third prong I'm asking you            10    able to hear me or should I move the mike
11    about is, is it true that also a reason for the      11    closer? How can I help you?
12    inspection is to, in the event an unsafe             12           A. I will just keep the speaker on
13    condition is identified, to fix it?                  13    one side because I'm not able to hear it that
14            A. Yes, because that will be done by         14    clearly on this side. Not in the sense of it's
15    the --                                               15    bolgering (sic) as the speaker.
16                MR. SCARRY: Form.                        16           Q. Okay. Have you understood all of
17                THE WITNESS: -- concerned person         17    the questions I've asked so far that at least
18            who is responsible for it.                   18    you've answered?
19    BY MR. BRAIS:                                        19           A. Yes, sir.
20            Q. Okay. And as a part -- if an              20           Q. Okay. But if I ask you a question
21    unsafe or defective condition is identified,         21    in the future and I see you straining and
22    some sort of -- do you understand the word           22    you're having difficulty, will you please let
23    "remedial measure"? Do you understand that           23    us know?
24    word?                                                24           A. Yes, sir, definitely. It was
25            A. No. Can you just --                       25    actually -- the speaker was a little bit far so
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                                                     26                                                        28
 1            Q. Okay. So let me use another word.          1    I was unable to hear nicely, but that was the
 2                If in the event an unsafe or              2    reason I was going closer to the speaker.
 3    defective condition is identified --                  3           Q. Okay. So you've moved that closer
 4            A. Uh-huh.                                    4    to you now?
 5            Q. -- is there paperwork that might           5           A. Yes.
 6    be generated --                                       6           Q. Okay, perfect. Thank you.
 7            A. All right.                                 7                We were talking about the fourth
 8            Q. -- to notify people of the unsafe          8    prong, if you will, for a shipboard
 9    or defective condition and to notify someone to       9    investigation being that -- and as a part of
10    go fix it?                                           10    investigating what happened it would fall upon
11            A. Yes, sir.                                 11    the security officers to identify all
12            Q. And what do you call that                 12    witnesses; am I correct?
13    paperwork?                                           13           A. So people who are involved we
14            A. Well, whatever the information is         14    normally have to -- yeah.
15    as investigative and gather it, and we send it       15           Q. And as a part of that, those
16    to the assistant chief. And from the assistant       16    witnesses, would it also be the responsibility
17    chief he checks and he sends it to the               17    or duties in accordance with the procedures
18    concerned department, if there's any                 18    with Carnival to interview those witnesses?
19    rectification needed or anything like that.          19           A. Yes, sir.
20            Q. Okay. Could that result in what           20           Q. And would a statement very often
21    might be called a work order so that whatever        21    be taken of those witnesses at least if they
22    the condition is can get fixed?                      22    have relevant information?
23            A. Yes.                                      23           A. You're breaking. Sir, your radio
24            Q. Can they be called anything else          24    is breaking.
25    other than a work order?                             25           Q. So let me repeat the question.
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 1           A. Yes.                                          1            A. Yes, sir.
 2           Q. With regard to witnesses having               2            Q. Okay, fine. And then as a part of
 3   relevant information, would it also be in                3    the inspection, would it also be in accordance
 4   accordance with Carnival's procedures to                 4    with Carnival's procedures and policies to take
 5   take -- obtain -- interview them and take a              5    photographs? Am I correct?
 6   witness statement?                                       6            A. Yes, sir. Yes, sir.
 7           A. Yes, sir.                                     7            Q. Do you recall in this case if any
 8           Q. With regard -- that's the fourth              8    shipboard photographs were taken in Mr. Ewing's
 9   prong.                                                   9    stateroom?
10                Fifth prong, would it be true that         10            A. I cannot recall -- I cannot
11   as a part of the post-incident inspection --            11    recollect it, but yes, we normally -- that's
12   did I break up again?                                   12    the procedure we normally go and take the
13           A. Yes, sir.                                    13    pictures of the alleged accident or anything
14           Q. Sorry.                                       14    like that.
15           A. An unnatural problem.                        15            Q. Do you have any memory of speaking
16           Q. I'll try it again.                           16    with Mr. Ewing directly?
17                MR. SCARRY: Does it make sense             17            A. No, sir, I cannot recollect
18           for you to sit here, closer?                    18    exactly.
19                MR. BRAIS: I don't think it's --           19            Q. Do you have any knowledge with
20           I think it's the Internet. I think he           20    regard to the policies and procedures and rules
21           hears me.                                       21    that assistant cabin stateroom stewards and
22                MR. SCARRY: Okay.                          22    stateroom stewards are to follow with regard to
23   BY MR. BRAIS:                                           23    upper bunks on board the ECSTASY leading up to
24           Q. You hear me fine, it's just coming           24    the date of this incident?
25   through --                                              25            A. Because everything -- rules and
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                                                     30                                                         32
 1           A. I can hear you. I can hear you,               1    regulations to that department has been taken
 2   but it's breaking --                                     2    care of by their department head, so --
 3                (Thereupon, an off the record               3            Q. So you wouldn't -- you wouldn't
 4           discussion was had.)                             4    know the policies and procedures for an
 5   BY MR. BRAIS:                                            5    assistant stateroom steward to follow with
 6           Q. Okay. So the fifth prong would be             6    regard to an upper bunk; am I correct?
 7   to -- and identify what happened would be to             7            A. Because the thing is, they don't
 8   actually go to the scene and conduct an                  8    report to us. Anything like that they report
 9   inspection, correct?                                     9    to the floor supervisor. Because they are the
10           A. Yes, sir.                                    10    ones supervising the stateroom stewards and
11           Q. Do you have any recollection of              11    assistant stateroom stewards.
12   that occurring in this case involving                   12            Q. So that's a yes? I'm just trying
13   Mr. Ewing?                                              13    to find out either yes, you know, or no, you
14           A. Sir, can you come again? Because             14    don't know. And then later I would say, well
15   you're still breaking up -- your video is               15    then, who knows? But I'm trying to get the
16   breaking up over here.                                  16    first part.
17           Q. Do you have any recollection that            17                So are you a person who has
18   a post-incident inspection in Mr. Ewing's cabin         18    knowledge about what a stateroom steward or an
19   or stateroom ever took place in this case?              19    assistant stateroom steward must do according
20           A. Sir, I'm sorry, that's what I said           20    to Carnival's policies with regard to upper
21   before, like we normally do a lot of                    21    bunks? That's not your department, correct?
22   investigations, so it's difficult to remember           22            A. Yes, because we just gather the
23   each and every one.                                     23    information based on whatever it is.
24           Q. That's okay. So the answer is,               24            Q. Okay. So you have no knowledge
25   no, right?                                              25    with regard to an assistant cabin steward and a
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                                                     33                                                           35
 1    cabin steward's duties and responsibilities               1          A.    Yes, I do have. Okay.
 2    with regard to an upper bunk; am I correct, yes           2                (Thereupon, the above mentioned
 3    or no?                                                    3            document was marked as Plaintiff's
 4            A. Yes, sir, because that is --                   4            Exhibit No. 24, for identification.)
 5            Q. Okay. Okay. No one is blaming                  5    BY MR. BRAIS:
 6    you, sir. We're not trying to blame you.                  6            Q. A third -- up at the top it says,
 7    Even -- we're not trying to blame you here. We            7    "P004, Stateroom Steward Safety
 8    understand your department is not in                      8    Responsibility."
 9    housekeeping. Okay?                                       9                Do you see that?
10            A. But -- Yes.                                   10            A. Yes, sir.
11            Q. But what?                                     11            Q. Okay. Have you ever seen that
12            A. No, no. Yes, you are telling me               12    document before? And it's three pages.
13    something. Yes.                                          13            A. Yes.
14            Q. No, that's okay.                              14            Q. Have you ever seen that document
15                 All right. So if I wanted to find           15    before?
16    out what an assistant or a cabin steward's               16            A. Yes, sir. It's the old
17    duties and responsibilities were, I would need           17    procedures --
18    to talk to either of those two type of people            18            Q. Well, I mean, other than at the
19    or one of their supervisors; would that be               19    beginning of this depo and at times leading up
20    correct?                                                 20    to this event, would this have been a document
21            A. The best person would be their                21    that you would have reviewed and have knowledge
22    supervisors.                                             22    of?
23            Q. Okay. And you don't supervise --              23            A. Yes, sir.
24    back up.                                                 24            Q. Okay. This sets forth the
25                 Leading up to the date of this              25    stateroom steward and safety responsibilities,
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                                                     34                                                           36
 1    incident, you don't supervise assistant or --             1    correct?
 2    cabin stewards or cabin stewards; am I correct?           2           A. Yes.
 3            A. Yes, sir. Because --                           3           Q. So far as you know, is this a true
 4            Q. Okay. That's fine. We got it.                  4    and correct copy of that document at times
 5                 So do you know, sir, leading up to           5    leading up to the January 25, 2018 incident?
 6    this event, do you know how often a cabin                 6               MR. SCARRY: Object to form.
 7    steward or an assistant cabin steward was to              7               THE WITNESS: Can you come again
 8    check an upper bunk within a passenger's                  8           with the questions?
 9    stateroom?                                                9    BY MR. BRAIS:
10            A. As far as I know, if there's                  10           Q. Sure.
11    something like this, they are supposed to check          11               As far as you can tell, is that a
12    it. If the upper bunk is not being used, it's            12    true and correct copy of P004 Stateroom Steward
13    supposed to be kept as closed.                           13    Safety Responsibility Procedures at --
14            Q. Okay. Do you know the procedure               14           A. Sorry, I cannot connect -- kind of
15    that they're supposed to follow?                         15    memorize it basically, but I just know about
16            A. Supervisors knows it. Their                   16    this document because this is something in the
17    supervisor knows it.                                     17    procedures.
18            Q. So your answer is no?                         18           Q. Okay. So you don't know if this
19            A. Yes, sir.                                     19    is --
20            Q. Okay. Fair enough. Understood.                20           A. The exactly -- I don't know
21                 Sir, do you have an Exhibit No. 24          21    because she is the one that gave me the copy,
22    that's in front of you?                                  22    so --
23            A. Yes, sir.                                     23           Q. Who is "she"?
24            Q. This was previously marked as                 24           A. No, the person who was in the
25    Exhibit No. 24.                                          25    office gave me this copy.
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                                                 37                                                         39
 1          Q. At the beginning of your depo --           1            document was marked as Plaintiff's
 2          A. I don't know exactly where it's            2            Exhibit No. 33, for identification.)
 3   printed from, yes.                                   3    BY MR. BRAIS:
 4          Q. But that's why I asked -- I'm              4            Q. Okay. And do you know if this is
 5   going to slow down a little bit. That's why I        5    a photo that represents the cabin in which
 6   asked earlier if you recognize this document as      6    Mr. Ewing is claiming he was struck by an upper
 7   being the Stateroom Steward's Safety                 7    bunk?
 8   Responsibility Procedures at times leading up        8            A. I cannot recollect, sir.
 9   to the January 25th, 2018 incident? Does this        9            Q. Okay. Fair enough.
10   look like a true copy of that document, leading     10                Sir, take a look at Exhibit No. 34
11   up to January 25th, 2018?                           11    for identification. It's a key ring --
12               MR. SCARRY: Form.                       12            A. Give me a second.
13               THE WITNESS: That's what I said,        13                (Thereupon, the above mentioned
14          sir, I do not know about this one            14            document was marked as Plaintiff's
15          because this is -- I cannot, by heart,       15            Exhibit No. 34, for identification.)
16          I cannot recollect it basically.             16    BY MR. BRAIS:
17   BY MR. BRAIS:                                       17            Q. -- keys on the right-hand side and
18          Q. Sir, take a look at Exhibit No. 27        18    then a metal looking, what we'll call a key
19   previously marked.                                  19    wrench on the left side.
20          A. Okay.                                     20                Do you have the document in --
21               (Thereupon, the above mentioned         21    photo in front of you?
22          document was marked as Plaintiff's           22            A. Yes, sir. Number 34, right?
23          Exhibit No. 27, for identification.)         23            Q. Yes, sir.
24   BY MR. BRAIS:                                       24                Could you hold it up just so we
25          Q. Does this -- have you ever seen           25    make sure we're looking at the same thing?
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                                                 38                                                         40
 1   this document before -- have you -- had you          1            A. (Witness complies.)
 2   ever seen this document before -- withdrawn.         2            Q. That's it. Thank you very much.
 3               Had you ever seen this document          3            A. You're welcome, sir.
 4   before January 25, 2018?                             4            Q. Do you recognize what I'm
 5          A. No, sir.                                   5    referring to as an upper bunk key wrench on the
 6          Q. Okay. Let's take a look at                 6    left side?
 7   Exhibit No. 28. Previously marked 28 at the          7            A. I cannot recollect, sir.
 8   top, "Procedure four: Bunk bed inspection."          8            Q. Do you know what -- do you know
 9   Do you have it in front of you?                      9    what that thing is --
10          A. Yes, sir.                                 10            A. It looks like --
11               (Thereupon, the above mentioned         11            Q. -- on the left side of the key
12          document was marked as Plaintiff's           12    ring that looks to be metallic?
13          Exhibit No. 28, for identification.)         13            A. Yes, metal key. Yes.
14   BY MR. BRAIS:                                       14            Q. What -- before January 25th of
15          Q. Had you ever seen this document,          15    2018, had you ever seen one of those?
16   Exhibit No. 28, before January 25th, 2018?          16            A. Yes, it's a metal key basically.
17          A. No, sir.                                  17            Q. Had you ever seen one of those
18          Q. Sir, take a look, if you would, at        18    before January 25th, 2018?
19   what's been marked here today as Exhibit No.        19            A. Yes, sir.
20   33, and for identification, that's an upper         20            Q. Okay. Do you know, before January
21   bunk that's folded out of the wall over a lower     21    25th, 2018, do you know what it was used for?
22   bunk that looks to be kind of in a queen or         22            A. With this photograph I cannot tell
23   twin configuration. Do you have the photo?          23    you exactly.
24          A. Yes, sir.                                 24                But with this photograph it looks
25               (Thereupon, the above mentioned         25    like someone to open the bunk bed.
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                                                   41                                                               43
 1           Q. So the second photograph that you      1                     A. Yes, sir.
 2    referred to when you said it looks like          2                     Q. Would there be anybody else on
 3    something that could open a bunk bed, what       3             board that would ever have this type of a key
 4    number are you referring to?                     4             wrench, to your knowledge?
 5           A. I'm not sure, but exactly it looks     5                     A. To my knowledge, it's only this
 6    like a key to open something, maybe a bunk bed. 6              housekeeping should have this one.
 7           Q. What number photo did you just         7                     Q. Okay. Are these key wrenches, as
 8    look at?                                         8             we're calling them, at anytime leading up to
 9           A. Number 36, sir.                        9             this incident, are they ever provided to
10           Q. Okay. I'll represent to you, sir,     10             passengers on board the ship?
11    that the upper bunk, what we call a key or a    11                     A. It shouldn't be, no.
12    wrench in number 34 and in number 36, it's the  12                     Q. Because it's the duty and the
13    same photo from a different angle of the same   13             responsibility of the cabin steward or
14    key wrench.                                     14             assistant cabin steward to raise or lower the
15           A. Okay.                                 15             bunks and in the process lock or unlock the
16           Q. Now, does that help you answer the    16             upper bunk. Would that be a fair statement?
17    question, do you know what that key wrench is   17                          MR. SCARRY: Objection.
18    used for?                                       18                          THE WITNESS: Yes, sir.
19           A. I cannot recollect, sir.              19             BY MR. BRAIS:
20           Q. Do you know if that key wrench is     20                     Q. Sir, I'll -- Exhibit No. 35, does
21    used by the stewards or assistant cabin         21             that just look to be another photo of the same
22    stewards to open, lower, raise and lock or      22             metallic key wrench?
23    unlock an upper bunk?                           23                          (Thereupon, the above mentioned
24           A. I cannot recollect, sir. Sorry.       24                     document was marked as Plaintiff's
25           Q. You can't remember because you've     25                     Exhibit No. 35, for identification.)
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                                                    42                                                              44
 1    never seen that before -- that type of a key              1    BY MR. BRAIS:
 2    wrench before January 25th of 2018?                       2           Q. It just happens to have a ruler
 3            A. Can you come again with the                    3    next to it. Is that what it looks like to you?
 4    question?                                                 4           A. Yes, but I cannot see the angle of
 5            Q. I say, you can't recollect because             5    it. So I'm not sure --
 6    before January 25, 2018, you've never seen a              6           Q. You mean the orifice, the opening,
 7    key wrench like that?                                     7    correct?
 8            A. I have seen this with the                      8           A. Yes.
 9    housekeeping. They have it.                               9           Q. Okay, fair enough.
10            Q. And housekeeping uses it for what             10                 Now, No. 36, in looking at that,
11    purpose?                                                 11    you realize that was an upper bunk key wrench
12            A. As you mentioned, it should be                12    as we're calling it, correct?
13    used for the upper bunk.                                 13           A. In this photograph I cannot
14            Q. To unlock or lock --                          14    exactly judge exactly what is it, sir.
15            A. Yes.                                          15                 (Thereupon, the above mentioned
16            Q. -- lower or raise and lock an                 16            document was marked as Plaintiff's
17    upper bunk, to be more specific; am I correct?           17            Exhibit No. 36, for identification.)
18            A. Yes. Yes, sir.                                18    BY MR. BRAIS:
19            Q. As far as you're aware, the only              19           Q. Well, what I would like you to
20    people on board the ECSTASY at all times                 20    focus on is the interior portion of the
21    leading up to this incident who would have had           21    metallic key wrench depicted in Exhibit No. 36.
22    this type of a key wrench depicted in Exhibit            22                 Do you see that -- I don't know
23    No. 34 and 36, that would have been the                  23    how to really characterize this. It's sort of
24    assistant cabin steward and the cabin steward;           24    a round triangular shape. Would that be a fair
25    am I correct?                                            25    statement?
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                                                     45                                                                47
 1           A.    Yes, kind of a round triangular               1    don't remember exactly seeing it, sir.
 2   shape, yeah.                                                2           Q.   Okay. Fair enough.
 3           Q. Okay. Exhibit No. 37. Would you                  3                Sir, you mentioned earlier in your
 4   look at that, pleases?                                      4    deposition that there were several Fantasy
 5           A. 37?                                              5    Class vessels, the ECSTASY for two contracts,
 6                (Thereupon, the above mentioned                6    ELATION for at least one, the PARADISE for one,
 7           document was marked as Plaintiff's                  7    and you're presently serving on board the
 8           Exhibit No. 37, for identification.)                8    FASCINATION; am I right?
 9   BY MR. BRAIS:                                               9           A. Yes, sir.
10         Q. Hold it up, if you would, so we                   10           Q. Okay. And that you've been
11   can make sure we're looking at the same thing.             11    working for Carnival since 2011?
12         A. Give me a second, sir.                            12           A. Yes, sir.
13             All right, sir, this one?                        13           Q. On board any of the Fascination
14           Q.    Yes, sir.                                    14    Class vessels that I just mentioned, do you
15           A.    Okay.                                        15    have any recollection of ever having --
16           Q. Does that look to be another what               16                MR. SCARRY: The Fantasy Class.
17   we're calling an upper bunk key wrench but                 17    BY MR. BRAIS:
18   simply some sort of maybe plastic version, as              18           Q. I'm sorry, let me rephrase it
19   far as you can tell?                                       19    then.
20                MR. SCARRY: Object to form.                   20                With regard to your service on
21                THE WITNESS: I'm not sure about               21    board any Fantasy Class vessels since 2011,
22           that one, sir.                                     22    have there ever been any prior instances that
23   BY MR. BRAIS:                                              23    you either investigated yourself or learned of
24           Q. Okay, fair enough.                              24    where a passenger in a stateroom claimed that
25                Okay. Sir, take a look at                     25    an upper bunk came down unexpectedly?
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                                                    46                                                             48
 1   number -- Exhibit No. 38. It's the one that                 1           A. I'm sorry, sir, I cannot recollect
 2   has the word "caution," correct?                            2    that, sir.
 3           A. This one?                                        3           Q. And you can't recollect it because
 4           Q. Correct.                                         4    you have no memory of such, or it could have
 5                 (Thereupon, the above mentioned               5    happened, you just simply don't remember doing
 6           document was marked as Plaintiff's                  6    the inspection yourself?
 7           Exhibit No. 38, for identification.)                7           A. No, because the thing is, like I
 8   BY MR. BRAIS:                                               8    said, we do a lot of inspections, a lot of
 9           Q. So above the word "caution" do you               9    accident investigations, so I cannot recollect
10   recognize what's depicted there? It's got a                10    right now how many accidents or what kind of an
11   plate, a round part and then a shape,                      11    accident I have dealt with.
12   interestingly enough, that kind of looks like,             12           Q. So I'll make it simpler. Do you
13   I guess I'll have to say the extended end of a             13    have any knowledge whatsoever of a prior
14   triangle that has rounded corners. Is that a               14    incident where a passenger in a stateroom on
15   fair statement?                                            15    board a Carnival Fantasy Class vessel ever
16           A. I'm not sure exactly what it is,                16    claimed that an upper bunk came down
17   sir. It's just a photograph.                               17    unexpectedly?
18           Q. Okay. So above the word "caution"               18                 MR. SCARRY: Form.
19   do you recognize what that metallic device is              19    BY MR. BRAIS:
20   at all?                                                    20            Q. Yes or no?
21           A. No, sir.                                        21            A. No, sir, I cannot recollect.
22           Q. Have you ever -- have you ever                  22            Q. Is there anything that would help
23   seen that before, other than obviously in this             23    you recollect whether there's what we're
24   photograph?                                                24    calling a prior similar incident? Is there
25           A. Other than this photograph, I                   25    anything that might help you?
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                                                      49                                                           51
 1            A. That's what I said. Like, you                  1            A. No, sir.
 2    know, we -- since 2011, we have been doing                2            Q. And am I correct, sir, that if you
 3    investigations, meeting guests, so I cannot               3    have no recollection of Mr. Ewing's incident
 4    recollect exactly each and every accident.                4    that we're here talking about, do you have
 5            Q. Okay. So you have no memory of                 5    any -- you have -- then you have no
 6    there being any sort of prior similar incident;           6    recollection of having spoken directly to
 7    fair statement?                                           7    Mr. Ewing; would that be fair?
 8            A. Yes. Yes.                                      8            A. Can you come again?
 9            Q. Okay. Before -- how did you know               9            Q. Sure.
10    today's depo was being scheduled of you?                 10                If you have no recollection of
11            A. Because Brian e-mailed me.                    11    Mr. Ewing's incident, is it fair to say, then
12            Q. "Brian" being Mr. Scarry, who's               12    therefore you have no recollection of ever
13    really not that, but --                                  13    talking to Mr. Ewing about what happened? Is
14            A. And --                                        14    that true?
15            Q. To set this up?                               15            A. Yes, sir.
16            A. Sorry?                                        16            Q. And therefore, you have no
17            Q. Mr. Scarry contacted you; is that             17    recollection of Mr. Ewing ever saying anything
18    the answer?                                              18    to you about what happened; true?
19            A. Yes, sir.                                     19            A. Yes, sir.
20            Q. Was he able to contact you while              20            Q. Do you know if anyone, other than
21    you were on the ship or something?                       21    yourself, ever spoke to Mr. Ewing about what
22            A. Yes, he sent an e-mail to --                  22    happened on the ship?
23            Q. Have you had an opportunity to                23            A. I cannot recollect it, sir.
24    ever speak with Mr. Scarry in preparation for            24            Q. The upper bunks that we're talking
25    today's depo?                                            25    about on board the ECSTASY and the Fantasy
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                                                    50                                                              52
 1           A. He called me in the morning. He                 1    Class vessels, they're all the same, correct?
 2    asked me to call because he just wanted to                2            A. Same class of ship. Should be.
 3    confirm about this deposition.                            3            Q. The upper bunks that we're talking
 4           Q. Was that call this morning?                     4    about on board the Fantasy Class vessels, to
 5           A. This morning, yeah, just to                     5    your knowledge, are they all the same type that
 6    reconfirm that I'm coming.                                6    sort of fold up into and fold out of the wall?
 7           Q. Had you ever talked to Mr. Scarry               7                 MR. SCARRY: Objection to form.
 8    before this morning about today's depo?                   8                 THE WITNESS: Yes, sir.
 9           A. Yes. He called me on one more                   9    BY MR. BRAIS:
10    occasion to let me know this is what it is.              10            Q. And --
11           Q. The first time that he spoke to                11            A. As far as I know -- just to add up
12    you, how long did the conversation last?                 12    to your previous question, as far as I know
13           A. I didn't keep track of it, sir.                13    because the same class of ship, so it should be
14    So --                                                    14    the same. But depends, again, on the cabin and
15           Q. We all have some concept of time.              15    which cabin it is.
16    Was it five minutes, fifteen minutes, an hour?           16            Q. Fair enough. Because you're
17    What would be your estimation?                           17    suggesting because you don't know, there might
18           A. Should have been around 15                     18    be a difference on another Fantasy Class
19    minutes.                                                 19    vessel?
20           Q. Okay.                                          20            A. Yes.
21           A. Approximately, I'm not sure about              21            Q. Correct?
22    that one.                                                22            A. Yes.
23           Q. Okay. Other than Mr. Scarry, have              23            Q. Okay, fair enough.
24    you had any conversations with any person about          24                 On board the ECSTASY, having
25    your deposition going forward today?                     25    served on board that vessel, do you have some
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 1   familiarity with the upper bunks in the              1           about what key is exactly. But if it
 2   passenger staterooms?                                2           is in the located position, it will be
 3           A. Other than Fantasy Class?                 3           locked.
 4           Q. No, no. Listen -- I'll slow down.         4    BY MR. BRAIS:
 5           A. All right.                                5           Q. Okay. So let's forget what the
 6           Q. On board the ECSTASY --                   6    key looks like because you've testified now you
 7           A. Right.                                    7    are not -- even though it looks like an upper
 8           Q. -- because you worked on board            8    bunk key lock, you're not 100 percent certain
 9   there --                                             9    that's what we're looking at in photos 34, 35,
10           A. Right.                                   10    36, and 37; is that a fair statement?
11           Q. -- do you have some familiarity          11           A. Right, sir.
12   with the upper bunks in the passenger               12           Q. Fair enough.
13   staterooms?                                         13                So whatever this upper bunk wrench
14           A. No, I'm not getting that.                14    or key lock looks like, is it your
15           Q. Do you understand the word               15    understanding if the upper bunk -- if that key
16   "familiarity"?                                      16    or wrench is used and it's inserted into the
17           A. Yes.                                     17    upper bunk and turned to the locked position
18           Q. Okay. Meaning do you have some           18    that the upper bunk should remain locked? Is
19   knowledge about how they work? Do you have          19    that a fair statement.
20   some basic knowledge about how the upper bunks      20                MR. SCARRY: Object to form.
21   work?                                               21                THE WITNESS: You see that's why I
22           A. Yes.                                     22           said, this is being checked by the
23           Q. Okay. The key -- the wrench key          23           floor supervisor and the stateroom
24   that we mentioned earlier --                        24           steward and the assistant stateroom
25           A. Right.                                   25           steward.
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                                                   54                                                        56
 1           Q. -- there were several photographs         1    BY MR. BRAIS:
 2   beginning at 34, 35, 36, 37, if that key is --       2           Q. Do you know the answer to the
 3   do you agree -- am I correct that if the key,        3    question? You don't have to direct me to who I
 4   the wrench key is used and the upper bunk is         4    can ask. You can only -- do you know the
 5   locked, the lock is turned in the locked             5    answer? If you don't know the answer, that's
 6   position, will the upper bunk remain locked?         6    fine.
 7                MR. SCARRY: Object to form.             7                I can ask you later who do I ask,
 8                THE WITNESS: Sir, that -- the           8    but I am asking you now if the upper bunk
 9           floor supervisor will be able to tell        9    locking key wrench --
10           exactly about that one, because they        10           A. Right.
11           are the ones that are specialized in        11           Q. -- is used to lock an upper
12           that area.                                  12    bunk --
13   BY MR. BRAIS:                                       13           A. Right.
14           Q. So are you testifying that if the        14           Q. -- should it be locked and remain
15   key, the wrench key we mentioned earlier, is        15    in place? In other words not fall down?
16   used, inserted into the upper bunk locking          16                MR. SCARRY: Form.
17   mechanism, turned to a locked position, you         17                THE WITNESS: Yes.
18   don't know if the upper bunk is locked or not;      18    BY MR. BRAIS:
19   is that a fair statement?                           19           Q. Do you have an understanding?
20           A. Can you come again, sir, as well?        20           A. Yes. If it is in the locked
21                (Thereupon, the above mentioned        21    position, it should stay -- if it is locked
22           question was read by the reporter as        22    then it should stay in the locked position.
23           above transcribed.)                         23                MR. BRAIS: I don't have any more
24                THE WITNESS: Say again. With the       24           questions, sir. I'm just going to take
25           picture you're showing me, I'm not sure     25           a short break for myself anyway. Give
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                                                   57
 1            Brian a second.                                1          CERTIFICATE OF SHORTHAND REPORTER
 2                Do you think you'll have much?             2
 3                MR. SCARRY: Give me a moment. I                STATE OF FLORIDA )
 4            don't think I'm going to have any              3              ) SS.
                                                                 COUNTY OF DADE )
 5            questions, Girish. Let me just check
                                                            4
 6            my notes. Okay?
                                                            5          I, the undersigned authority hereby
 7                MR. BRAIS: I'll be right back.
                                                            6    certify that the foregoing transcript, pages 1
 8                THE VIDEOGRAPHER: We're going off         7    through 59 are a true and correct
 9            the video record, then, at 1:49.              8    transcription of the deposition of Girish
10                (Thereupon, a short recess was            9    Divadiga, taken before me at the time and place
11            taken.)                                      10    stated in the caption hereof.
12                THE VIDEOGRAPHER: Back on the            11          I further certify that the said witness
13            video record.                                12    was duly sworn according to law.
14                MR. SCARRY: We're back on the            13          I further certify that I am not of
15            record, Mr. Divadiga. This is Brian          14    counsel to either of the parties to said cause
16            Scarry on behalf of Carnival, and we do      15    or otherwise interested in the event thereof.
17            not have any questions this afternoon.       16          IN WITNESS WHEREOF, I hereunto set my
                                                           17    hand and affix my official seal of office this
18                THE WITNESS: Okay.
                                                           18    7th day of October, 2019.
19                MR. SCARRY: And we'll read, if
                                                           19
20            ordered.
                                                           20
21                THE VIDEOGRAPHER: We're going off        21          ____________________________________
22            the video record at 1:51.                    22          Julio A. Mocega, Shorthand Reporter
23                (Thereupon, the deposition was           23          Notary Public in and for
24            concluded at 1:51 P.M., and the              24          the State of Florida at Large
25            formalities or reading and signing were      25          My Commission Expires: 6-29-22
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                                                   58                                                      60
 1            not waived.)                                  1                CERTIFICATE OF OATH
 2                                                          2
 3                                                          3    STATE OF FLORIDA
 4                                                          4    COUNTY OF DADE
 5                                                          5
 6                                                          6
 7                                                          7              I, the undersigned authority,
 8                                                          8    certify that Girish Divadiga personally
 9                                                          9    appeared before me and was duly sworn.
10                                                         10              WITNESS my hand and official seal
11                                                         11    this 7th day of October, 2019.
12                                                         12
13                                                         13
14                                                         14
15                                                         15             ______________
16                                                         16
17                                                         17             Julio A. Mocega
18                                                         18
19                                                         19             Notary Public State of Florida
20                                                         20             My commission Expires: 6-29-2022
21                                                         21
22                                                         22
23                                                         23
24                                                         24
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